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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1854V
                                          UNPUBLISHED


    DENNIS MANTIA,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: May 19, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Howard Scott Gold, Gold Law Firm, LLC, Wellesley Hills, MA, for Petitioner.

Martin Conway Galvin, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On December 9, 2019, Dennis Mantia filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (SIRVA) after receiving the influenza (flu) vaccination on September 21,
2018. Petition at 1; Stipulation, filed at May 18, 2022, ¶¶ 1-2. Petitioner further alleges
that the vaccine was administered within the United States, he experienced the residual
effects of this condition for more than six months, and that he has never received
compensation in the form of an award or settlement for his injuries. Petition at 1, 5;
Stipulation at 3-5. “Respondent denies that [P]etitioner sustained a SIRVA Table injury;
denies that the flu vaccine caused his alleged shoulder injury, or any other injury; denies
that his current condition is a sequelae of a vaccine related injury.” Stipulation at ¶ 6.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on May 18, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $47,500.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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              IN THE UNITED ST ATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS


 DENNIS MANTIA,

                          Petitioner,                            No. 19-1854V

        V.                                                       Chief Special Master Corcoran (SPU)
                                                                 ECF
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,




                                                    STIPULATION

The parties hereby stipulate to the following matters:

        1.    Dennis Mantia ("petitioner'') filed a petition fer vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 to -34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to his receipt of an influenza ("flu") vaccine,

which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F .R. § I 00.3(a).

        2     Petitioner received the flu vaccine on September 21, 2018 in his left shoulder.

        3.    The vaccine was administered within the United States.

        4.    Petitioner alleges that he sustained a shoulder injury related to vaccine administration

(''SI.RVJ.,.") within tht period :1et fon:h   iii   the i.ab!e, or in ~he alternative, thal his aileged shoulder

injury was caused by the flu vaccine. Petitioner further alleges that he experienced the residual

effects of this condition for more than six months.

        5.    Petitioner represents that there has been no prior award or settlement of a civil action for

damages as a result of his condition.
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        6.    Respondent denies that petitioner sustained a SIRVA Table injury; denies that the flu

vaccine caused his alleged shoulder injury, or any other injury; denies that his current condition is a

sequelae of a vaccine related injury.

        7.    Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.    As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the terms ofthis Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue the

following vaccine compensation payment:

        A lwnp sum of$47,SOO.0O in the form ofa check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C. §
        300aa-15(a).

        9.    As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

§ 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before the

special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

       10.     Petitioner and his attorney represent that compensation to be provided pursuant to this

Stipulation is not for any items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be expected to

be made under any State compensation programs, insurance policies, Federal or State health benefits

programs (other than Title xrx of the Social Security Act (42 U.S.C. § 1396 et seq.)), or by entities

that provide health services on a pre-paid basis.

       11.     Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

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paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l5(i), subjectto

the availability of sufficient statutory funds.

        12    The parties and their attorneys further agree and stipulate that~ except for any award

for attorneys, fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a strict

construction of 42 U.S.C. §300aa-l5(a) and (d), and subject to the conditions of42U.S.C. § 300aa-

l5(g) and (h).

       13.    In return for the payments described in paragraphs 8 and 9, petitioner, in his individual

capacity, and on behalf of his heirs, executors, administrators, successors or assigns, does forever

irrevocably and unconditionally release, acquit and discharge the United States and the Secretary of

Health and Human Services from any and all actions or causes of action (including agreements,

judgments, claims, damages, loss of services, expenses and all demands of whatever kind or

nature) that have been brought, could have been brought, or could be timely brought in the Court of

Federal Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300 aa-10

et seq., on account of, or in any way growing out of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of petitioner resulting from, or alleged to have resulted

from, the flu vaocination administered on September 21, 2018, as all~ged by petitioner in a petition

for vaccine compensation filed on or about December 9, 2019, in the United States Court of Federal

Claims as petition No. 19-1854V.

       14.    If petitioner should die prior to entry ofjudgment, this agreement shall be voidable upon

proper notice to the Court on behalf of either or both of the parties.

       15.    If the special master fails to issue a decision in complete confonnity with thetenns




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ofthis Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is incomplete confonnity with the tenns of this Stipulation, then the parties' settlement

and this Stipulation shall be voidable at the sole discretion of either party.

       16.    This Stipulation expresses a full and complete negotiated settlement ofliability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except as

otherwise noted in paragraph 9 above. There is absolutely no agreement on the part ofthe parties

hereto to make any payment or to do ~my act or thing other than is herein expressly stated and
                               .                                                       .
clearly agreed to. The parties furthzr agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or amount

of dama_ges, and further, that a change in the nature of the injury or condition or in the items of

compensation sought, is not grounds to modify or revise this agreement.

        17.   This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged injury, or

any other injury, or her current disability or condition, or that petitioner suffered an injury con\ained in

the vaccine table.

        18.    All rights and obligarions of petitioner hereunder shall apply equally to petitior er's

heirs, executors, administrators, successors, and/or assigns.

                                        END OF STIPULATION




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    Respectfully submitted,


    PETITIONER:     ,I   t\   I
    fov.JVa~
    DENNTS~ANTIA



    AITORNEY OF RECORD FOR                                        AUTHORIZED REPRESENTATIVE
    PETITIONER:                                                   OF THE ATTORNEY GENERAL:



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    AlITHORIZED REPRESENTATIVE                                    ATTORNEY OF RECORD FOR
    OFTHESECRETARYOFHEALffl                                       RESPONDENT:
    AND HUMAN SERVICES:


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    CDR GEORGE REED GRIMES, MD, MPH                               MARTIN GALVIN
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    Dated:   &/y ~                (XO~
